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 13

 14                        UNITED STATES DISTRICT COURT

 15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 16
      PFIZER INC.,                               Case No. 3:21-cv-01980-CAB-JLB
 17
                               Plaintiff, PLAINTIFF’S EX PARTE MOTION
 18                                       FOR TEMPORARY RESTRAINING
              - against -                 ORDER AND ORDER TO SHOW
 19                                       CAUSE FOR PRELIMINARY
      CHUN XIAO LI and DOES 1-5,
 20
                                          INJUNCTION
                            Defendants.
 21
                                          Judge: Cathy Ann Bencivengo

 22
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 23
            PLEASE TAKE NOTICE THAT pursuant to Civil Local Rule 83.3(g), Rule
 24
      65 of the Federal Rules of Civil Procedure, 18 U.S.C. § 1836(b)(3)(A), and other
 25
      applicable law, Plaintiff Pfizer Inc. (“Pfizer”) respectfully moves for an order that:
 26
            (a)    Enjoins Ms. Chun Xiao Li from further using, disclosing, or
 27
      transmitting Pfizer’s confidential information or trade secrets;
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                                                           MOTION FOR TRO & OSC RE PI
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 1          (b)    Enjoins Ms. Li from destroying, manipulating, or otherwise altering
 2    any of Pfizer’s confidential information and trade secrets in her possession,
 3    custody, and control, including any electronic information such as metadata that
 4    shows last-access date and creation date; and
 5          (c)    Directs Ms. Li to provide Pfizer’s outside counsel with attorneys-
 6    eyes-only access to (i) her personal Google Drive account(s), (ii) any and all
 7    computing devices in her possession, custody, and control, and (iii) to any other
 8    account or device on which she may have stored Pfizer’s confidential information
 9    or trade secrets, as well as to return any hard copy documents containing Pfizer’s
 10   confidential information or trade secrets.
 11         A temporary restraining order and preliminary injunction are appropriate in
 12   this case because Ms. Li has misappropriated Pfizer’s confidential, proprietary, and
 13   trade-secret information, threatens to use or disclose that information further, and
 14   Pfizer will be imminently and irreparably harmed as a result. The grounds for this
 15   motion are set forth in Plaintiff’s accompanying memorandum of points and
 16   authorities, Declarations of Ashok Ramani, Dan Meyer, Thomas Smith, Brian
 17   Coleman, and Kevin Clarke and exhibits attached thereto, and all the pleadings and
 18   proceedings herein.
 19         Pursuant to Federal Rule of Civil Procedure 65(b)(1)(B) and Civil Local
 20   Rule 83.3(g)(2), Counsel for Pfizer did not inform Ms. Li that Pfizer was filing this
 21   Ex Parte Motion for Temporary Restraining Order and Order to Show Cause for
 22   Preliminary Injunction in this Court because of the substantial risk that Ms. Li
 23   would destroy further evidence upon receiving notice. The reasons for why notice
 24   to Ms. Li is not required are set forth in the Declaration of Ashok Ramani.
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                                                          MOTION FOR TRO & OSC RE PI
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 1    November 23, 2021                   Respectfully submitted,
 2
                                          s/ Ashok Ramani
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